Case 2:15-cv-08401-ES-JBC Document 154 Filed 02/11/22 Page 1 of 2 PageID: 1992



                                   KimLawFirm                    LLC
  Continental Plaza · 411 Hackensack Avenue, Suite 701 · Hackensack, NJ 07601 · (tel&fax) 201.273.7117


                                          February 11, 2022

Via ECF

The Honorable James B. Clark, III
United States District Court
Martin Luther King Jr. Federal Building and Courthouse
50 Walnut Street, Room MLK 2A
Newark, New Jersey 07102

               Re:     Morales v. Healthcare Revenue Recovery Group, LLC
                       Case No. 2:15-cv-08401-ES-JAD

Dear Judge Clark:

The parties write pursuant to the Court’s Letter Order (ECF No. 152). The parties are ready to
brief class certification. In the meantime, Plaintiff needs to complete merits discovery.

Plaintiff’s Position: Plaintiff is ready to move for class certification. However, Plaintiff requires
the following documents pertaining to the merits and damages which have not been produced:

   •   The account notes of class members from the pertinent collection software-Platinum in
       use on December 3, 2014—the time the unlawful letter was sent.
   •   Manuals for Ontario Systems FACS, Guaranteed Contacts System and Artiva software
       products, and CR Software Platinum and Titanium collection systems.
   •   Defendant’s document retention policy.
   •   Applicable insurance policy.
   •   Financial statements and balance sheets.
   •   Written policy regarding internal reference numbers.
   •   Written policy regarding telephone calls with consumers.
   •   Website data regarding internal reference numbers.

Furthermore, Plaintiff requires a supplemental Rule 30(b)(6) deposition to complete merits and
damages discovery, which can be conducted while a class certification motion is pending.

Defendant’s Position: Defendant objects to the continued production of documents and
information because all of the requested information has (1) previously been produced pursuant
to prior discovery orders; (2) was not required to be produced or disclosed pursuant to prior
discovery Orders; and/or (2) is not required to be produced as a matter of law.

Defendant submits that Plaintiff’s pre-certification request for a class list and additional class
account notes was previously denied by Judge Dickson on December 28, 2018 (ECF 113). In
addition, Defendant previously provided account notes for three individuals which was deemed
Case 2:15-cv-08401-ES-JBC Document 154 Filed 02/11/22 Page 2 of 2 PageID: 1993


Hon. James B. Clark, III
Morales v. Healthcare Revenue Recovery Group, LLC
February 11, 2022
Page 2 of 2


sufficient by the Court at this stage. Id. In similar fashion, Plaintiff’s request for financials was
denied by the Court at a case management conference on September 28, 2018. (ECF 103).
Lastly, Plaintiff has failed to identify any reason for additional depositions before class
certification and dispositive motions. Accordingly, Defendant respectfully submits that discovery
should remain closed.

The parties thank you for Your Honor’s time and consideration.

                                                              Very truly yours,

                                                              s/Yongmoon Kim
                                                              Yongmoon Kim, Esq.
                                                              KIM LAW FIRM LLC
cc:    All Counsel of Record (via ECF)
